Case 3:18-cv-01452-JPG-RJD Document 10 Filed 09/10/18 Page 1 of 5 Page ID #38




                         UNITED STATES DISTRICT COURT
                                              for the
                                     Southern District of Illinois



                  Robert Mason,
                   Plaintiff(s),                     Civil Number: 18-CV-1452-JPG-RJD
                                                     CJRA Track: B
                          v.                         Final Pretrial Conf: 9/18/2019 at 9:00 a.m.
                                                     Jury Trial Date: 9/30/2019 at 9:00 a.m. in
       Ocwen Loan Servicing, LLC, et al.,            Benton, IL
                Defendant(s).                        Judge: J. Phil Gilbert, U.S. District Judge


             UNIFORM TRIAL PRACTICE AND PROCEDURES

        In conformity with the Civil Justice Reform Act of 1990 and in compliance with the Civil

Justice Expenses and Delay Reduction Plan adopted by this Court, the following uniform

procedures will apply to all civil cases filed in the Southern District of Illinois.

                                        Scheduling Practice

        Trial settings and other scheduling will vary depending on the track classification which

was assigned to the case at the time of filing by the trial judge to whom the case is assigned. There

are four tracks: “A,” “B,” “C,” and “D.” “A” cases are set for trial between 8-10 months after the

date of first appearance of a defendant or the default date; “B” cases 11-14 months after the date

of first appearance of a defendant or the default date; “C” cases 15-18 months after the date of first

appearance of a defendant or the default date; and “D” cases 19-24 months after the date of first

appearance of a defendant or the default date.

        Except in cases exempted under SDIL-LR 26.1(a), the attorneys (and any unrepresented

parties) must meet in accordance with SDIL-LR 16.2(a) at least 21 days before any scheduling

conference set by the Court to candidly discuss the issues in the case and potential discovery needs.

✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
Case 3:18-cv-01452-JPG-RJD Document 10 Filed 09/10/18 Page 2 of 5 Page ID #39



Fed. R. Civ. P. 26(f). Within 14 days after this meeting, and at least 7 days before the date of the

scheduling conference, the participants must submit a Joint Report of the Parties and Proposed

Scheduling Order to the Magistrate Judge.

       All track “B,” “C,” and “D” cases will be set for a scheduling and discovery conference

before a Magistrate Judge within 40 days after the track has been set by the District Judge. The

scheduling conference may be canceled at the discretion of the Court following receipt of the Joint

Report of the Parties regarding their initial meeting. The Magistrate Judge may approve the parties'

Joint Report of Parties and Proposed Scheduling and Discovery Order, or enter a separate

scheduling order, as circumstances require.

       A final pretrial conference will be held by the trial judge at least 7 days prior to the first

day of the presumptive trial month. The parties shall confer and jointly submit a Final Pretrial

Order 3 days before the date of the final pretrial conference unless otherwise directed by the

presiding judge.

                              Disclosures and Discovery Practice

       Except in cases exempted under SDIL-LR 26.1, the parties shall comply with the initial

disclosure requirements of Federal Rule of Civil Procedure 26(a). These disclosures must be

supplemented by the parties, depending on the nature of the case and any limitations placed on

discovery at the scheduling conference. The disclosures and supplementation are not to be filed

with the Clerk of Court.

       A party may not seek discovery from another source until: (a) the party seeking discovery

has made its initial disclosures as required by Federal Rule of Civil Procedure 26(a), and, further,

(b) the parties have met and conferred as required by SDIL-LR 16.2(a).



✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
Case 3:18-cv-01452-JPG-RJD Document 10 Filed 09/10/18 Page 3 of 5 Page ID #40



       A party may not seek discovery from another party before such disclosures have been made

by, or are due from, such other party. The cut-off date for all discovery, including experts and third

parties, shall not be later than 115 days prior to the first day of the month of the presumptive trial

date. Disclosure of experts and discovery with reference to experts and other discovery dates will

be set according to the Joint Report of the Parties following their initial meeting or at the

scheduling and discovery conference before the Magistrate Judge.

                                          Motion Practice

       Motions to remand, to dismiss, for judgment on the pleadings, for summary judgment, and

all post-trial motions shall be supported by a brief and filed with the Clerk of Court. Any adverse

party shall have 30 days after the service of the movant’s brief in which to file and serve an

answering brief.

       Briefs shall be no longer than 20 double-spaced typewritten pages, 12 point font. Reply

briefs, if any, shall be filed within 14 days of the service of a response and shall be no longer than

5 pages. Such briefs are not favored and should be filed only in exceptional circumstances. Under

no circumstances will sur-reply briefs be accepted. If a party believes it is necessary to supplement

its brief with new authority due to a change in the law or the facts that occurred after the filing of

its brief, the party must seek leave of court to file a supplemental brief. The supplemental authority

shall be filed in accordance with the supplemental authority provisions found in Federal Rule of

Appellate Procedure 28(j).

       For all motions other than those listed above, a supporting brief is not required. A party

opposing such a motion shall have 14 days after service to file a written response. Failure to file a

timely response to a motion may, in the Court’s discretion, be considered an admission of the

merits of the motion. A reply, if any, shall be filed within 7 days of the service of the response.

✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
Case 3:18-cv-01452-JPG-RJD Document 10 Filed 09/10/18 Page 4 of 5 Page ID #41



       A party may not schedule or notice a hearing or oral argument on a pending motion. Any

party desiring oral argument on a motion shall file a formal motion and state the reason why oral

argument is requested. Any motion may be either (1) scheduled by the Court for oral argument at

a specified time; (2) scheduled for determination by telephone conference call; (3) referred to a

United States Magistrate Judge for determination or recommendation; or (4) determined upon the

pleadings and the motions without benefit of oral argument.

                               Notice of Magistrate Judge’s Availability

       The parties are reminded that a United States magistrate judge is available to conduct all

proceedings in this action pursuant to 28 U.S.C. § 636(c). If this case is transferred on consent to

a magistrate judge, major criminal cases will not interfere with its scheduling and progress. The

consent process is explained further on the Notice and Consent to Proceed Before a Magistrate

Judge form, which is attached to this document. The form can also be printed or downloaded from

the court’s website, www.ilsd.uscourts.gov (under “Rules and Forms” then “For Civil Cases”), at

any time.



                                              THOMAS L. GALBRAITH, Acting Clerk of Court

                                                           By: s/ Tina Gray
                                                           Deputy Clerk




✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
       Case 3:18-cv-01452-JPG-RJD Document 10 Filed 09/10/18 Page 5 of 5 Page ID #42


                              UNITED STATES DISTRICT COURT
                                                      for the
                                             Southern District of Illinois




 vs.                                                         Case Number:




                               NOTICE AND CONSENT TO
                         PROCEED BEFORE A MAGISTRATE JUDGE
         Notice of a magistrate judge’s availability. In accordance with 28 U.S.C. § 636(c), a United States
magistrate judge of this court is available to conduct all proceedings in this civil action (including a jury or nonjury
trial) and to order the entry of a final judgment. The judgment may then be appealed directly to the United States
Court of Appeals for the Seventh Circuit like any other judgment of this court. A magistrate judge may exercise
this authority only if all parties voluntarily consent. You may consent to have your case referred to a magistrate
judge, or you may withhold your consent without substantive adverse consequences.

Note: If this case is transferred on consent to a magistrate judge, major criminal cases will not interfere with its
scheduling and progress. This means that it is likely this civil case will be resolved sooner and at less expense
to the parties if a magistrate judge decides the case.

      Consent to a magistrate judge’s authority. The following parties consent to have a magistrate judge
conduct all proceedings in this case including trial, entry of final judgment, and all post-trial proceedings.

 Printed Name of Party                        Signature of Party or Attorney                   Date




Attorneys should electronically file this form under seal with the clerk of court only if consenting to the exercise
of jurisdiction by a magistrate judge (use the event “Consent/Non-Consent to US Magistrate Judge located
under “Other Filings, Other Documents.”). Do not send this form to the judge. Unrepresented parties should
submit the form to the clerk in paper format. Illinois Department of Corrections institutions participating in the
electronic filing program should transmit the form electronically for e-filing by the clerk. Each party may file an
executed form independently, or the parties may circulate one form to be signed by all and electronically filed
when all signatures are obtained.

✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
